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 6                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 7

 8   ARTURO SAUCEDA, and MICHAEL SIZEMORE,
     individually and on behalf of all others similarly
 9                                                        NO. __________________
     situated,
10                                                        CLASS ACTION COMPLAINT
                            Plaintiffs,
11          vs.

12   AMAZON.COM, INC.,
13
                            Defendant.
14

15

16          Arturo Sauceda and Michael Sizemore (“Plaintiffs”), on behalf of themselves and all

17   others similarly situated, by their undersigned attorneys, against Amazon.com, Inc.,

18   (“Amazon”), allege the following based upon personal knowledge as to themselves and their

19   own actions, and as to all other matters allege upon information and belief and investigation

20   of their counsel, as follows:

21                                     I.    NATURE OF THE ACTION

22          1.      This is a consumer class action brought individually by Plaintiffs and on behalf

23   of all persons in the below‐defined proposed Classes, all of whom purchased one or more

24   spices manufactured and sold by Amazon under its trade name of “Happy Belly” (the

25   “Spices”).1

26
     1
      The purchased Spices currently include but are not limited to ground thyme. Plaintiffs
27   reserve the right to expand this list during the litigation.
                                                                             TERRELL MARSHALL LAW GROUP PLLC
                                                                                  936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 1                                                  Seattle, Washington 98103‐8869
                                                                               TEL. 206.816.6603  FAX 206.319.5450
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 1            2.       Amazon began as an online bookseller in 1994 and has since expanded into a
 2   multinational technology company focused on ecommerce, digital streaming, cloud
 3   computing, and artificial intelligence. Amazon launched “Happy Belly” brand on the site,
 4   www.amazon.com, in 2016, first selling pre‐packaged snacks and then expanding to other
 5   grocery items such as spices.2 In 2021, Amazon stock reached a market valuation of $1.7
 6   trillion.3
 7            3.       Amazon does not list heavy metals as an ingredient on the Spices’ label and
 8   does not warn of the potential presence of heavy metals in its Spices.
 9            4.       Unbeknown to Plaintiffs and the proposed Class Members, and contrary to the
10   representations on the Spices’ labels, the Spices contain heavy metals, including arsenic,
11   cadmium, and lead at levels above what is considered safe for children and adults. If Amazon
12   disclosed this information prior to purchase, Plaintiffs and proposed Class Members would not
13   have purchased or consumed the Spices.
14            5.       The labels on the Spices are deceptive and misleading.
15            6.       Plaintiffs and the proposed Class Members bring claims for consumer fraud and
16   seek damages, injunctive and declaratory relief, interest, costs, and attorneys’ fees.
17                                    II.    JURISDICTION AND VENUE
18            7.       This Court has subject matter jurisdiction over this action under 28 U.S.C.
19   § 1332(d) because this is a class action wherein the amount in controversy exceeds the sum or
20   value of $5,000,000, exclusive of interest and costs, there are more than 100 members in the
21   proposed class, and at least one member of the class is a citizen of a state different from
22   Amazon.
23            8.       This Court has personal jurisdiction over Amazon because Amazon’s principal
24
     2
       https://www.bakeryandsnacks.com/Article/2016/08/15/Amazon‐launches‐exclusive‐Happy‐
25
     Belly‐nuts‐and‐trail‐mix‐range.
     3
26     https://www.yahoo.com/video/jeff‐bezos‐stepped‐down‐amazon‐
     203700565.html#:~:text=Today%2C%20the%20company%20holds%20a,10.3%25%20stake%2
27   0in%20the%20company.
                                                                                TERRELL MARSHALL LAW GROUP PLLC
                                                                                     936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 2                                                     Seattle, Washington 98103‐8869
                                                                                  TEL. 206.816.6603  FAX 206.319.5450
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 1   place of business is located in the State of Washington.
 2          9.       Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part
 3   of the events or omissions giving rise to these claims occurred in, were directed to, and/or
 4   emanated from this District. Amazon resides within this judicial district and a substantial part
 5   of the events giving rise to the claims alleged herein occurred within this judicial district.
 6                                             III.   PARTIES
 7          10.     Plaintiff Arturo Sauceda is a resident and citizen of the State of California,
 8   residing in Delano, California and is a member of the proposed Classes. He purchased the
 9   Happy Belly Ground Thyme in California from Amazon multiple times since 2017 and most
10   recently in February 2022.
11          11.     Plaintiff Michael Sizemore is a resident and citizen of the State of California,
12   residing in Shingle Springs, California and is a member of the proposed Classes. He purchased
13   the Happy Belly Ground Thyme in California from Amazon in September 2021.
14          12.     Defendant Amazon is a Washington corporation with its principal place of
15   business at 410 Terry Ave. N., Seattle, WA 98109. Amazon is a citizen of the State of
16   Washington.
17                                    IV.     FACTUAL ALLEGATIONS
18          13.     Amazon manufactures, distributes, promotes, offers for sale, and sells the
19   Spices, both in the past and currently. Amazon has advertised and continues to advertise the
20   Spices through product packaging, Internet advertisements, and other promotional materials.
21          14.     An investigation by known consumer‐advocacy group Consumer Reports
22   revealed that Spices manufactured by Amazon contain “potentially dangerous heavy metals:”4
23                  Roughly one‐third of the tested products, 40 in total, had high
24                  enough levels of arsenic, lead, and cadmium combined, on
                    average, to pose a health concern for children when regularly
25

26
     4
      https://www.consumerreports.org/food‐safety/your‐herbs‐and‐spices‐might‐contain‐
27   arsenic‐cadmium‐and‐lead/#tests (last accessed March 22, 2022).
                                                                                TERRELL MARSHALL LAW GROUP PLLC
                                                                                     936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 3                                                     Seattle, Washington 98103‐8869
                                                                                  TEL. 206.816.6603  FAX 206.319.5450
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                    consumed in typical serving sizes. Most raised concern for adults,
 1
                    too.5
 2
            15.     Exposure to heavy metals causes permanent decreases in IQ, diminished future
 3
     economic productivity, and increased risk of future criminal and antisocial behavior in
 4
     children. Toxic heavy metals endanger infant neurological development and long‐term brain
 5
     function. Lead and arsenic are heavy metals known to cause a wide spectrum of adverse
 6
     outcomes in pregnancy such as abortions, retarded growth at the intrauterine cavity, skeletal
 7
     deformities, malformations and retarded development, especially of the nervous system.6
 8
            16.     Young children are particularly vulnerable to lead because the physical and
 9
     behavioral effects of lead occur at lower exposure levels in children than in adults. A dose of
10
     lead that would have little effect on an adult can have a significant effect on a child. In
11
     children, low levels of exposure have been linked to damage to the central and peripheral
12
     nervous system, learning disabilities, shorter stature, impaired hearing, and impaired
13
     formation and function of blood cells.7
14
            17.     EPA has set the maximum contaminant level goal for lead in drinking water at
15
     zero because lead is a toxic metal that can be harmful to human health even at low exposure
16
     levels. Lead is persistent, and it can bioaccumulate in the body over time.8
17
            18.     The Agency for Toxic Substances and Disease Registry states that there may be
18
     no threshold for lead with regards to developmental impact on children. “In other words
19
     there are no safe limits for [lead].”9
20
                                  V.     FED. R. CIV. P. 9(b) ALLEGATIONS
21
            19.     Rule 9(b) of the Federal Rules of Civil Procedure provided that “[i]n alleging
22
     5
23     Id.
     6
       Id.
24   7
       See https://www.cdc.gov/nceh/lead/prevention/pregnant.htm (last accessed March 22,
     2022).
25   8
      See https://www.epa.gov/ground‐water‐and‐drinking‐water/basic‐information‐about‐lead‐
26   drinking‐water (last accessed March 22, 2022).
     9
       G. Schwalfenberg, I. Rodushkinb, S.J. Genuis, “Heavy metal contamination of prenatal
27   vitamins,” Toxicology Reports 5 at 392 (2018).
                                                                               TERRELL MARSHALL LAW GROUP PLLC
                                                                                    936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 4                                                    Seattle, Washington 98103‐8869
                                                                                 TEL. 206.816.6603  FAX 206.319.5450
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 1   fraud or mistake, a party must state with particularity the circumstances constituting fraud or
 2   mistake.” To the extent necessary, as detailed in the paragraphs above and below, Plaintiffs
 3   have satisfied the requirements of Rule 9(b) by pleading the following elements with sufficient
 4   particularity.
 5             20.    WHO: Amazon made material misrepresentations and/or omissions of fact in
 6   its labeling and marketing of the Spices by misrepresenting the Spices’ composition and/or
 7   omitting to disclose the presence of heavy metals.
 8             21.    WHAT: Amazon’s conduct was and continues to be fraudulent because it has
 9   the effect of deceiving consumers into believing that the Spices do not contain heavy metals.
10   Amazon omitted disclosing to Plaintiffs and Class Members that the Spices contain heavy
11   metals. Amazon knew or should have known this information is material to reasonable
12   consumers and impacts consumers’ purchasing decisions. Yet Amazon has represented and
13   continues to represent that the Spices do not contain heavy metals when they do contain
14   heavy metals, and has omitted from the Spices’ labeling the fact that they contain heavy
15   metals.
16             22.    WHEN: Amazon made material misrepresentations and/or omissions detailed
17   herein, including that the Spices do not contain heavy metals, continuously throughout the
18   applicable Class period(s).
19             23.    WHERE: Amazon’s material misrepresentations and omissions were made on
20   the front labeling and packaging of the Spices and throughout Amazon’s advertising.
21   Amazon’s representations and omissions were viewed by every purchaser, including the
22   Plaintiffs, at the point of sale in every transaction. The Spices are sold worldwide in brick‐and‐
23   mortar stores and through the online store nationwide.
24             24.    HOW: Amazon omitted from the Spices’ labeling the fact that they contain
25   heavy metals. Plaintiffs and Class Members read and relied on Amazon’s front‐label
26   representations and omissions before purchasing the Spices.
27             25.    WHY: Amazon misrepresented the composition of its Spices and omitted from
                                                                              TERRELL MARSHALL LAW GROUP PLLC
                                                                                   936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 5                                                   Seattle, Washington 98103‐8869
                                                                                TEL. 206.816.6603  FAX 206.319.5450
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 1   the Spices’ labeling that they contain heavy metals for the express purpose of inducing
 2   Plaintiffs and Class Members to purchase the Spices at a substantial price premium. Amazon
 3   profited by selling the Spices to at least thousands of consumers throughout the nation.
 4                                  VI.    CLASS ACTION ALLEGATIONS
 5             26.   Plaintiffs brings this action individually and on behalf of all other persons
 6   similarly situated pursuant to Federal Rule of Civil Procedure 23. The class definition(s) may
 7   depend on the information obtained throughout discovery. At this time, Plaintiffs seeks
 8   certification of the following proposed Class: All persons within the United States who
 9   purchased and consumed the Spices from the beginning of any applicable limitations period
10   through the date of class certification (the “National Class” or the “Class”).
11             27.   Plaintiffs also seeks certification of the following subclass (the “California Sub‐
12   Class”): All persons in the State of California who purchased and consumed the Spices from
13   the beginning of any applicable limitations period through the date of class certification.
14             28.   Excluded from the proposed Classes are Amazon, and any entities in which
15   Amazon has controlling interest, Amazon’s agents, employees, and its legal representatives,
16   any Judge to whom this action is assigned and any member of the Judge’s staff and immediate
17   family, and Plaintiffs’ counsel, their staff members, and their immediate family.
18             29.   Certification of Plaintiffs’ claims for class‐wide treatment is appropriate
19   because Plaintiffs can prove the elements of their claims on a class‐wide basis using the same
20   evidence as would be used to prove those elements in individual actions alleging the same
21   claims.
22             30.   Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members of the
23   Classes are so numerous that their individual joinder herein is impracticable. On information
24   and belief, members of the Classes number in the thousands to tens of thousands. The
25   number of members in the Classes is presently unknown to Plaintiffs but may be verified by
26   Amazon’s records. Members of the Classes may be notified of the pendency of this action by
27   mail, email, Internet postings, and/or publication.
                                                                                TERRELL MARSHALL LAW GROUP PLLC
                                                                                     936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 6                                                     Seattle, Washington 98103‐8869
                                                                                  TEL. 206.816.6603  FAX 206.319.5450
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 1          31.     Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)
 2   and 23(b)(3). Common questions of law and fact exist as to all members of the Classes and
 3   predominate over questions affecting only individual members of the Classes. Such common
 4   questions of law or fact include, but are not limited to, the following:
 5          a.      Whether the Spices contain dangerous levels of heavy metals;
 6          b.      Whether the marketing, advertising, packaging, labeling, and other
 7                  promotional materials for the Spices are unfair or deceptive;
 8          c.      Whether Amazon’s actions violate California’s Unfair Competition Law;
 9          d.      Whether Amazon’s actions violate California’s False Advertising Law;
10          e.      Whether Amazon’s actions violation the California’s Consumer Legal Remedies
11                  Act;
12          f.      Whether Amazon’s act or practices violate the Washington Consumer
13                  Protection Act;
14          g.      Whether Amazon’s actions constitute common law fraud;
15          h.      Whether Plaintiffs and Class Members were damaged by Amazon’s conduct;
16          i.      Whether Amazon was unjustly enriched at the expense of Plaintiffs and Class
17                  Members; and
18          j.      Whether Plaintiffs and Class Members are entitled to injunctive relief.
19          32.     Typicality – Federal Rule of Civil Procedure 23(a)(3). The claims of the named
20   Plaintiffs are typical of the claims of other Class Members. All Class Members were similarly
21   injured by Amazon’s conduct described above, and there are no defenses available to Amazon
22   that are unique to Plaintiffs.
23          33.     Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).
24   Plaintiffs are adequate Class representatives because their interests do not conflict with the
25   interests of other Class Members and they are willing and able to represent the interests of
26   other Class Members. Plaintiffs have retained counsel experienced in prosecuting class actions
27   and financially able to represent the Classes.
                                                                                TERRELL MARSHALL LAW GROUP PLLC
                                                                                     936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 7                                                     Seattle, Washington 98103‐8869
                                                                                  TEL. 206.816.6603  FAX 206.319.5450
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 1          34.     Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).
 2   Amazon has acted or refused to act on grounds generally applicable to Plaintiffs and the other
 3   Class Members, making appropriate final injunctive relief and declaratory relief, as described
 4   below, with respect to the Classes as a whole. Plaintiffs seek to enjoin Amazon from selling or
 5   otherwise distributing the Spices until Amazon can demonstrate to the Court’s satisfaction
 6   that the Spices are accurately labeled.
 7          35.     Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior
 8   to any other means of adjudication for this controversy. It would be impracticable for Class
 9   Members to individually litigate their own claims against Amazon because their damages are
10   relatively small compared to the cost of individually litigating their claims. Individual litigation
11   would create the potential for inconsistent judgments and delay and expenses to the court
12   system. A class action provides an efficient means for adjudication with fewer management
13   difficulties and comprehensive supervision by a single court.
14                                    VII.  FIRST CLAIM FOR RELIEF
                                           Unjust Enrichment
15
                                     (On Behalf of the National Class)
16
            36.     Plaintiffs, individually and on behalf of the National Class, repeat and reallege
17
     all previously alleged paragraphs, as if fully alleged herein.
18
            37.     Plaintiffs and Class Members conferred a benefit on Amazon when they
19
     purchased the Spices, of which Amazon had knowledge. By its wrongful acts and omissions
20
     described herein, including selling the Spices, which containing heavy metals at levels above
21
     what is considered safe for children and adults, Amazon was unjustly enriched at the expense
22
     of Plaintiffs and Class Members. Plaintiffs and Class Members’ detriment and Amazon’s
23
     enrichment were related to and flowed from the wrongful conduct challenged in this
24
     Complaint.
25
            38.     Amazon has profited from its unlawful, unfair, misleading, and deceptive
26
     practices at the expense of Plaintiffs and Class Members and the circumstances make it unjust
27
                                                                                TERRELL MARSHALL LAW GROUP PLLC
                                                                                     936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 8                                                     Seattle, Washington 98103‐8869
                                                                                  TEL. 206.816.6603  FAX 206.319.5450
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 1   for Amazon to retain the benefit. It would be inequitable for Amazon to retain the profits,
 2   benefits, and other compensation obtained from its wrongful conduct in connection with
 3   selling the Spices.
 4          39.     Amazon has been unjustly enriched in retaining the revenues derived from
 5   Class Members’ purchases of the Spices. Amazon’s retention of the revenues under these
 6   circumstances is unjust and inequitable because Amazon misrepresented the nature and
 7   composition of the Spices, and knowingly marketed and promoted dangerous and defective
 8   Spices, which caused injuries to Plaintiffs and Class Members because they would not have
 9   purchased the Spices if they had known the true facts about the Spices.
10          40.     Plaintiffs and Class Members have been damaged as a direct and proximate
11   result of Amazon’s unjust enrichment because they would not have purchased the Spices on
12   the same terms or for the same price had they known the true nature of the Spices.
13          41.     Plaintiffs and Class Members are entitled to recover from Amazon all amounts
14   Amazon wrongfully collected and improperly retained.
15          42.     Plaintiffs and Class Members are in privity with Amazon because they
16   purchased the Spices either directly from Amazon’s website or through Amazon’s authorized
17   sellers. Purchasing through authorized sellers is sufficient to establish privity because
18   Amazon’s authorized sellers are Amazon’s agents for the purpose of the sale of the Spices.
19          43.     As a direct and proximate result of Amazon’s wrongful conduct and unjust
20   enrichment, Plaintiffs and Class Members are entitled to restitution of, disgorgement of,
21   and/or imposition of a constructive trust upon all profits, benefits, and other compensation
22   obtained by Amazon for its inequitable and unlawful conduct.
23                                  VIII.  SECOND CLAIM FOR RELIEF
                                                  Fraud
24
                                     (On Behalf of the National Class)
25
            44.     Plaintiffs, individually and on behalf of the National Class, repeat and re‐allege
26
     all previously alleged paragraphs, as if fully alleged herein.
27
                                                                              TERRELL MARSHALL LAW GROUP PLLC
                                                                                   936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 9                                                   Seattle, Washington 98103‐8869
                                                                                TEL. 206.816.6603  FAX 206.319.5450
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 1           45.     Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging
 2   fraud or mistake, a party must state with particularity the circumstances constituting fraud or
 3   mistake.” To the extent necessary, as detailed in the paragraphs above and below, Plaintiffs
 4   have satisfied the requirements of Rule 9(b) by establishing the following elements with
 5   sufficient particularity:
 6          WHO: Amazon made material misrepresentations and/or omissions of fact in its
 7           labeling and marketing of the Spices by misrepresenting the Spices’ composition
 8           and/or omitting to disclose the presence of heavy metals.
 9          WHAT: Amazon’s conduct was and continues to be fraudulent because it has the effect
10           of deceiving consumers into believing the Spices do not contain heavy metals. Amazon
11           omitted disclosing to Plaintiffs and Class Members that the Spices contain heavy
12           metals. Amazon knew or should have known this information is material to reasonable
13           consumers and impacts consumers’ purchasing decisions. Yet Amazon has represented
14           and continues to represent that the Spices do not contain heavy metals when they do
15           contain heavy metals and has omitted from the Spices’ labeling that they contain
16           heavy metals.
17          WHEN: Amazon made material misrepresentations and/or omissions detailed herein,
18           including that the Spices do not contain heavy metals, continuously throughout the
19           applicable Class period(s).
20          WHERE: Amazon’s material misrepresentations and omissions were made on the front
21           labeling and packaging of the Spices and throughout Amazon’s advertising. Amazon’s
22           representations and omissions were viewed by every purchaser, including Plaintiffs, at
23           the point of sale in every transaction. The Spices are sold worldwide in brick‐and‐
24           mortar stores and through the online store nationwide.
25          HOW: Amazon omitted from the Spices’ labeling the fact that they contain heavy
26           metals. Plaintiffs and Class Members read and relied on Amazon’s front‐label
27           representations and omissions before purchasing the Spices.
                                                                              TERRELL MARSHALL LAW GROUP PLLC
                                                                                   936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 10                                                  Seattle, Washington 98103‐8869
                                                                                TEL. 206.816.6603  FAX 206.319.5450
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 1         WHY: Amazon misrepresented the composition of its Spices by omitted from the
 2          Spices’ labeling that they contain heavy metals for the express purpose of inducing
 3          Plaintiffs and Class Members to purchase the Spices at a substantial price premium.
 4          Amazon profited by selling the Spices to at least thousands of consumers throughout
 5          the nation.
 6          46.     As alleged herein, Amazon made these material representations and omissions
 7   to induce Plaintiffs and Class Members to purchase the Spices.
 8          47.     Amazon knew the misrepresentations and omissions were false and misleading
 9   but nevertheless made the representations and omissions in its marketing and advertising of
10   the Spices and on the Spices’ labeling. In reliance on these representations and omissions,
11   Plaintiffs and Class Members were induced to, and did, pay money to purchase the Spices.
12          48.     Had Plaintiffs and the Class known the truth about the Spices, they would not
13   have purchased the Spices.
14          49.     As a proximate result of Amazon’s fraudulent conduct, Plaintiffs and Class
15   Members paid money to Amazon, through its regular retail sales channels, and have been
16   damaged in an amount to be proven at trial.
17                                    IX.    THIRD CLAIM FOR RELIEF
                  Violation of California Business & Professions Code §§ 17200 et seq. –
18
                                    Unlawful Conduct Prong of the UCL
19                                 (On Behalf of the California Sub‐Class)

20          50.     Plaintiffs, individually and on behalf of the California Sub‐Class, repeat and re‐

21   allege all previously alleged paragraphs, as if fully alleged herein.

22          51.     California Business & Professions Code section 17200 (the “UCL”) prohibits any

23   “unlawful, unfair or fraudulent business act or practice.”

24          52.     Amazon’s representations and omissions are “unlawful” because they violate

25   the Federal Food, Drug, and Cosmetic Act (“FFDCA”) and its implementing regulations,

26   including:

27                  a.      21 U.S.C. § 343, which deems food misbranded when the label

                                                                              TERRELL MARSHALL LAW GROUP PLLC
                                                                                   936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 11                                                  Seattle, Washington 98103‐8869
                                                                                TEL. 206.816.6603  FAX 206.319.5450
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 1                         contains a statement that is “false or misleading in any particular,”
 2                         defining “misleading” a to “take[] into account (among other things)
 3                         not only representations made or suggested by statement, word,
 4                         design, device, or any combination thereof, but also the extent to
 5                         which the labeling or advertising fails to reveal facts material in the
 6                         light of such representations”;
 7                  b.     21 U.S.C. § 321(n), which states the nature of a false and misleading
 8                         advertisement;
 9                  c.     21 C.F.R. § 101.18(b), which prohibits true statements about food
10                         ingredients and descriptions that are misleading in light of the
11                         presence of other ingredients; and
12                  d.     21 C.F.R. § 102.5 which prohibits misleading common or usual names.
13          53.     Amazon’s conduct is “unlawful” because it violates the California False
14   Advertising Law (“FAL”) and the Consumer Legal Remedies Act (“CLRA”).
15          54.     Amazon’s conduct is unlawful because it violates the California Sherman Food,
16   Drug, and Cosmetic Law, Cal. Health & Saf. Code section 109875, et seq. (“Sherman Law”),
17   including:
18                  a.     Section 110100 (adopting all FDA regulations as state regulations);
19                  b.     Section 110290 (“In determining whether the labeling or
20                         advertisement of a food … is misleading, all representations made or
21                         suggested by statement, word, design, device, sound, or any
22                         combination of these, shall be taken into account. The extent that the
23                         labeling or advertising fails to reveal facts concerning the food … or
24                         consequences of customary use of the food … shall also be
25                         considered.”);
26                  c.     Section 110390 (“It is unlawful for any person to disseminate any false
27                         advertisement of any food…. An advertisement is false if it is false or
                                                                             TERRELL MARSHALL LAW GROUP PLLC
                                                                                  936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 12                                                 Seattle, Washington 98103‐8869
                                                                               TEL. 206.816.6603  FAX 206.319.5450
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 1                           misleading in any particular.”);
 2                  d.       Section 110395 (“It is unlawful for any person to manufacture, sell,
 3                           deliver, hold, or offer for sale any food … that is falsely advertised.”);
 4                  e.       Section 110398 (“It is unlawful for any person to advertise any food,
 5                           drug, device, or cosmetic that is adulterated or misbranded.”);
 6                  f.       Section 110400 (“It is unlawful for any person to receive in commerce
 7                           any food … that is falsely advertised or to deliver or proffer for delivery
 8                           any such food….”); and
 9                  g.       Section 110660 (“Any food is misbranded if its labeling is false or
10                           misleading in any particular.”).
11          55.     Each of the challenged statements made and actions taken by Amazon violates
12   the FFDCA, CLRA, FAL, and Sherman Law, and therefore violates the “unlawful” prong of the
13   UCL.
14          56.     Amazon leveraged its deception to induce Plaintiffs and Sub‐Class Members to
15   purchase a product that was of lesser value and quality than advertised.
16          57.     Amazon’s deceptive advertising caused Plaintiffs and Sub‐Class Members to
17   suffer injury‐in‐fact and to lose money or property, denying them the benefit of the bargain
18   when they decided to purchase the Spices instead of other spices that are less expensive, and
19   contain no heavy metals.
20          58.     Had Plaintiffs and Sub‐Class Members been aware of Amazon’s false and
21   misleading advertising, they would not have purchased the Spices at all, or would have paid
22   less than they did.
23          59.     In accordance with California Business & Professions Code section 17203,
24   Plaintiffs seek an order enjoining Amazon from continuing to conduct business through
25   unlawful, unfair, and/or fraudulent acts and practices and to commence a corrective
26   advertising campaign.
27
                                                                                TERRELL MARSHALL LAW GROUP PLLC
                                                                                     936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 13                                                    Seattle, Washington 98103‐8869
                                                                                  TEL. 206.816.6603  FAX 206.319.5450
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 1          60.      Plaintiffs also seeks an order for the disgorgement and restitution of all monies
 2   from the sale of the Spices that was unjustly acquired through such acts.
 3                                   X.     FOURTH CLAIM FOR RELIEF
                  Violation of California Business & Professions Code §§ 17200, et seq. –
 4
                             Unfair and Fraudulent Conduct Prong of the UCL
 5                                 (On Behalf of the California Sub‐Class)

 6          61.      Plaintiffs, individually and on behalf of the California Sub‐Class, repeat and re‐

 7   allege all previously alleged paragraphs, as if fully alleged herein.

 8          62.      California Business & Professions Code section 17200 prohibits any “unlawful,

 9   unfair or fraudulent business act or practice.”

10          63.      Amazon’s false and misleading representations and omissions are “unfair”

11   business acts and practices because they are immoral, unscrupulous, and offend public policy.

12          64.      The gravity of the conduct outweighs any conceivable benefit.

13          65.      Amazon’s representations and omissions constitute “fraudulent” business acts

14   and practices because they are false and misleading to Plaintiffs and Sub‐Class Members.

15          66.      Amazon’s representations and marketing of the Spices is likely to deceive

16   consumers about the presence of heavy metals in the Spices.

17          67.      Amazon knew or reasonably should have known that its claims and statements

18   about the Spices were likely to deceive consumers.

19          68.      In accordance with California Business & Professions Code section 17203,

20   Plaintiffs seeks an order enjoining Amazon from continuing to conduct business through

21   unlawful, unfair, and/or fraudulent acts and practices and to commence a corrective

22   advertising campaign.

23          69.      Plaintiffs seeks an order for the disgorgement and restitution of all monies

24   from the sale of the Spices that was unjustly acquired through acts of unlawful, unfair and/or

25   fraudulent competition.

26

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 1                                     XI.    FIFTH CLAIM FOR RELIEF
                  Violation of California Business & Professions Code §§ 17500, et seq. –
 2
                                      False and Misleading Advertising
 3                                 (On Behalf of the California Sub‐Class)

 4          70.      Plaintiffs, individually and on behalf of the California Sub‐Class, repeat and re‐

 5   allege all previously alleged paragraphs, as if fully alleged herein.

 6          71.      California False Advertising Law (Cal. Business & Professions Code sections

 7   17500 and 17508) prohibits “mak[ing] any false or misleading advertising claim.”

 8          72.      Amazon makes “false [and] misleading advertising claim[s],” by deceiving

 9   consumers as to the inclusion of heavy metals in its Spices.

10          73.      In reliance on these false and misleading advertising claims, Plaintiffs and Sub‐

11   Class Members purchased and consumed the Spices without knowing the Spices contained

12   heavy metals.

13          74.      Amazon knew or should have known that its representations and marketing

14   were likely to deceive consumers.

15          75.      As a result, Plaintiffs and Sub‐Class Members are entitled to injunctive and

16   equitable relief, restitution, and an seek an order for the disgorgement of the funds by which

17   Amazon was unjustly enriched.

18                                   XII.   SIXTH CLAIM FOR RELIEF
          Violation of California Civil Code §§ 1750, et seq. – Consumers Legal Remedies Act
19                               (On Behalf of the California Sub‐Class)
20          76.      Plaintiffs individually and on behalf of the California Sub‐Class, repeat and re‐
21   allege all previously alleged paragraphs, as if fully alleged herein.
22          77.      The CLRA adopts a statutory scheme prohibiting deceptive practices in
23   connection with the conduct of a business providing goods, property, or services primarily for
24   personal, family, or household purposes.
25          78.      Amazon’s policies, acts, and practices were designed to, and did, result in
26   Plaintiffs’ and Sub‐Class Members’ purchase and use of the Spices primarily for personal,
27
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                                                                                    936 North 34th Street, Suite 300
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                                                                                 TEL. 206.816.6603  FAX 206.319.5450
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 1   family, or household purposes, and violated and continue to violate the following sections of
 2   the CLRA:
 3                  a. Section 1770(a)(2), which prohibits representing that goods have a
 4                      particular composition or contents that they do not have;
 5                  b. Section 1770(a)(5), which prohibits representing that goods have
 6                      characteristics, uses, benefits or ingredients that they do not have;
 7                  c. Section 1770(a)(7), which prohibits representing that goods are of a
 8                      particular standard, quality, or grade if they are of another;
 9                  d. Section 1770(a)(9), which prohibits advertising goods with intent not to sell
10                      them as advertised; and
11                  e. Section 1770(a)(16), which prohibits representing that the subject of a
12                      transaction has been supplied in accordance with a previous representation
13                      when it has not.
14          79.     Plaintiffs request that this Court enjoin Amazon from continuing to employ the
15   unlawful methods, acts and practices alleged herein under Cal. Civ. Code § 1780.
16          80.     If Amazon is not restrained from engaging in these types of practices in the
17   future, Plaintiffs and Sub‐Class Members will continue to suffer harm.
18          81.     Concurrently with the filing of this Complaint, Plaintiffs will send a Consumer
19   Legal Remedies Notice via certified mail, return receipt requested, pursuant to Cal. Civ. Code
20   § 1782, to Amazon’s (1) registered agents within the state of California; (2) principal place of
21   business; and (3) headquarters.
22          82.     The CLRA Notices will provide Amazon notice of the misconduct and request
23   that Amazon cure its misconduct pursuant to Cal. Civ. Code. § 1782 within 30 days.
24          83.     If Amazon does not respond or otherwise correct its misconduct within 30
25   days, Plaintiffs will amend this Complaint to include a claim for monetary damages and
26   attorneys’ fees under the CLRA.
27          84.     At this time, Plaintiffs seek injunctive relief and restitution for Amazon’s
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                                                                                   936 North 34th Street, Suite 300
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 1   violation of the CLRA.
 2                               XIII. SEVENTH CLAIM FOR RELIEF
            Violation of the Washington Consumer Protection Act (RCW 19.86.010 et seq.)
 3
                           (On Behalf of Plaintiffs and the Nationwide Class)
 4
            85.     Plaintiffs, individually and on behalf of Nationwide Class, repeat and re‐allege
 5
     all previously alleged paragraphs, as if fully alleged herein.
 6
            86.     The Washington Consumer Protection Act, RCW 19.86.020, (the “CPA”)
 7
     prohibits any “unfair or deceptive acts or practices” in the conduct of any trade or commerce
 8
     as those terms are described by the CPA and relevant case law.
 9
            87.     Amazon is a “person” as described in RWC 19.86.010(1).
10
            88.     Amazon engaged in unfair or deceptive acts or practices by marketing and
11
     selling the Spices without disclosing that they contain heavy metals, including arsenic,
12
     cadmium, and lead, at levels above what is considered safe for children and adults. Amazon’s
13
     acts or practices offend public policy established by statutes and regulations, including the
14
     FFDCA, the Sherman Law, and their implementing regulations. Amazon’s acts or practices
15
     caused substantial financial injury to Plaintiffs and Class Members, are not outweighed by any
16
     countervailing benefits to consumers or competitors, and are not reasonably avoided by
17
     consumers.
18
            89.     Amazon’s acts or practices occurred in trade or commerce within the meaning
19
     of the CPA, RCW 19.86.010(2) and RCW 19.86.020.
20
            90.     Amazon’s unfair or deceptive acts or practices impact the public interest
21
     because they injured Plaintiffs and Class Members and have the capacity to injure other
22
     persons.
23
            91.     Plaintiffs’ and Class Member’s injuries were caused by Amazon’s unfair or
24
     deceptive acts or practices.
25

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                                                                                  936 North 34th Street, Suite 300
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 1          92.     Plaintiffs and Class Members are therefore entitled to legal relief against
 2   Amazon, including recovery of actual damages, treble damages, attorneys’ fees, costs of suit,
 3   and any further relief the Court deems proper.
 4          93.     Plaintiffs and Class Members are also entitled to injunctive relief in the form of
 5   an order prohibiting Amazon from continuing to engage in the alleged unfair or deceptive
 6   practices and any other equitable relief the Court deems appropriate.
 7                                     XIV.    PRAYER FOR RELIEF
 8          WHEREFORE, Plaintiffs, on behalf of themselves and other Class and Sub‐Class
 9   Members, pray for judgment and relief on all of the legal claims as follows:
10          A.      Certification of the Class and Sub‐Class, appointing Plaintiffs as
11   representatives of the Class and Sub‐Class and Plaintiffs’ counsel as counsel for the Class and
12   Sub‐Class;
13          B.      A declaration that Amazon has committed the violations alleged herein;
14          C.      For restitution and disgorgement pursuant to, without limitation, the
15   California Business & Professions Code §§ 17200, et seq. and Cal Civ. Code § 1780, except no
16   monetary damages under the CLRA;
17          D.      For declaratory and injunctive relief pursuant to, without limitation, the
18   California Business & Professions Code §§ 17200, et seq. and 17500, et seq.;
19          E.      For damages, declaratory and injunctive relief pursuant to California Civil
20   Code § 1780;
21          F.      An award of compensatory damages, the amount of which is to be
22   determined at trial, except no monetary damages under the CLRA;
23          G.      For punitive damages, except no monetary under the CLRA;
24          H.      For actual damages and treble damages, declaratory and injunctive relief
25   under the Washington State Consumer Protection Act (RCW 19.86.010 et seq.);
26          I.      For interest at the legal rate on the foregoing sums;
27          J.      For attorneys’ fees;
                                                                              TERRELL MARSHALL LAW GROUP PLLC
                                                                                   936 North 34th Street, Suite 300
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 1           K.      For costs of suit incurred; and
 2           L.      For such further relief as this Court may deem just and proper.
 3                                     XV.   DEMAND FOR JURY TRIAL
 4           Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury of all issues properly
 5   triable to a jury in this case.
 6           RESPECTFULLY SUBMITTED AND DATED this 22nd day of March, 2022.
 7
                                               TERRELL MARSHALL LAW GROUP PLLC
 8
                                               By:    /s/ Beth E. Terrell, WSBA #26759
 9                                                   Beth E. Terrell, WSBA #26759
10                                                   Email: bterrell@terrellmarshall.com
                                                     936 North 34th Street, Suite 300
11                                                   Seattle, Washington 98103‐8869
                                                     Telephone: (206) 816‐6603
12                                                   Facsimile: (206) 319‐5450
13
                                                     Kevin Laukaitis, Pro Hac Vice Forthcoming
14                                                   Email: klaukaitis@shublawyers.com
                                                     Jonathan Shub, Pro Hac Vice Forthcoming
15
                                                     Email: jshub@shublawyers.com
16                                                   SHUB LAW FIRM LLC
                                                     134 Kings Highway E., 2nd Floor
17                                                   Haddonfield, NJ 08033
                                                     Tel: (856) 772‐7200
18
                                                     Fax: (856) 210‐9088
19
                                                     Gary E. Mason, Pro Hac Vice Forthcoming
20                                                   Email: gmason@masonllp.com
                                                     MASON LLP
21
                                                     5101 Wisconsin Avenue NW, Suite 305
22                                                   Washington, DC 20016
                                                     Tel: 202‐640‐1168
23                                                   Fax: 202‐429‐2294
24

25

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27
                                                                                TERRELL MARSHALL LAW GROUP PLLC
                                                                                     936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 19                                                    Seattle, Washington 98103‐8869
                                                                                  TEL. 206.816.6603  FAX 206.319.5450
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                                         L. Timothy Fisher, Pro Hac Vice Forthcoming
 1
                                         Email: ltfisher@bursor.com
 2                                       Sean L. Litteral, Pro Hac Vice Forthcoming
                                         Email: slliteral@bursor.com
 3                                       BURSOR & FISHER, P.A.
 4                                       1990 North California Blvd, Suite 940
                                         Walnut Creek, CA 94596
 5                                       Tel: (925) 300‐4455
                                         Fax: (925) 407‐2700
 6

 7                                       Lori G. Feldman, WSBA #29096
                                         Email: lfeldman@4‐justice.com
 8                                       GEORGE GESTEN MCDONALD, PLLC
                                         102 Half Moon Bay Drive
 9
                                         Croton‐on‐Hudson, NY 10520
10                                       Tel: (833) 346‐3587

11                                       Janine L. Pollack, Pro Hac Vice Forthcoming
                                         Email: jpollack@calcaterrapollack.com
12
                                         CALCATTERA POLLACK LLP
13                                       1140 Avenue of the Americas, 9th Floor
                                         New York, NY 10036
14                                       Tel: (212) 899‐1765
                                         Fax: (332) 206‐2073
15

16                                   Attorneys for the Plaintiffs and the Proposed Classes

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21

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27
                                                                    TERRELL MARSHALL LAW GROUP PLLC
                                                                         936 North 34th Street, Suite 300
     CLASS ACTION COMPLAINT ‐ 20                                        Seattle, Washington 98103‐8869
                                                                      TEL. 206.816.6603  FAX 206.319.5450
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